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                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )            4:05 CR 3138
                                         )
          v.                             )
                                         )
                                         )
JEFFREY L. ROMERO,                       )      MEMORANDUM AND ORDER
                                         )
                   Defendant.            )


     Upon consideration of the defendant’s motion for removal of
electronic monitoring equipment and on being advised that there is
no opposition,


     IT HEREBY IS ORDERED: The motion, filing 84, is granted, and
Paragraph 7 of the defendant’s order setting conditions of release,
filing 41, is amended to strike subparagraph (t) in part, as
follows.     The defendant shall be removed from electronic
monitoring. The defendant shall, however, remain subject to the
provision for a curfew between 10:00 p.m. and 6:00 a.m. every day,
or as otherwise directed by the supervising officer to accommodate
the defendant’s employment schedule.


     DATED June 28, 2006


                                   BY THE COURT:



                                   s/ David L. Piester
                                   United States Magistrate Judge
